Case 1:17-cr-20275-UU Document 61 Entered on FLSD Docket 03/27/2019 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:17-cr-20275-UU

 UNITED STATES OF AMERICA,

               Plaintiff,
 v.

 KEVIN C. FUSCO,

             Defendant.
 ______________________________/

                                            ORDER
        THIS CAUSE is before the Court upon Defendant’s Motion for Certified Copy of the

 Electronic Discovery stored on his Apple iPhone 6 (D.E. 59) and Defendant’s Motion to Compel

 production of the same (D.E. 60) (together, the “Motions”).

        THE COURT, having reviewed the Motions and pertinent parts of the record and being

 otherwise fully advised in the premises, hereby ORDERS AND ADJUDGES that the Motions,

 D.E. 59 & D.E. 60, are DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida, this _27th_ day of March, 2019.



                                                    _______________________________
                                                    URSULA UNGARO
                                                    UNITED STATES DISTRICT JUDGE

 copies provided:
 Kevin Fusco, pro se
 Counsel of record via CM/ECF
